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            UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF FLORIDA
                    GAINESVILLE DIVISION

JEREMY B. HALES

v.                                       Case No.: 1:25cv58/RH/ZCB

JOHN M. COOK, et al.

                       REFERRAL AND ORDER

Referred to Magistrate Judge Bolitho on April 2, 2025
Type of Motion/Pleading: Consented-To Request for Extension to
Answer or Otherwise Plead
Filed by: Defendant             on 4/1/2025      Doc.     14

                                   JESSICA LYUBLANOVITS, CLERK
                                   OF COURT
                                   /s/ Sylvia D. Williams
                                   Deputy Clerk: Sylvia D. Williams

                                ORDER
      Upon consideration of the foregoing, it is ORDERED this 2nd day
of April 2025:
      Defendant Bruce Matzkin has filed a motion seeking a 30-day
      extension to respond to Plaintiff’s complaint. (Doc. 14). Plaintiff’s
      counsel has agreed to a 10-day extension only. Defendant Matzkin
      states that he needs thirty days to obtain counsel and prepare a
      responsive pleading. For good cause shown, Defendant Matzkin’s
      motion (Doc. 14) is GRANTED and his response to Plaintiff’s
      complaint is due thirty days from the date of this order.

                                   /s/ Zachary C. Bolitho
                                   Zachary C. Bolitho
                                   United States Magistrate Judge

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